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          EXHIBIT 19
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    1    Call Date: 2018-09-15

    2    Call Duration:       6: 58

    3    Call Begin:    13: 22: 51

    4    Participants

    5           RICK SINGER

    6           JOHN WILSON

    7    File   Name:        9163848802 2018-09-15          13-22-15 08138-001.wav

    8

    9

    10    WILSON:       Hey Rick,       could you hear me?        'Cause you just

    11                  dropped       out.

    12    SINGER:       Yeah    I--now       I can hear you.

    13    WILSON:       Okay,    great       sorry you said something     about      the

    14                  guys    from Goldman       and then boom you dropped

    15                  out.

    16    SINGER:       Yeah they sent me 4 families              on Thursday    sayin'

    17                  they've       been checkin'       with development,     they'll

    18                  pay the 1.2, 1.5, 2 million              they don't   care

    19                  'cause they're          being   quoted   over $30 million.

    20    WILSON:       [inaudible]          Oh because    they have to donate       a

    21                  whole    building       or something     like that you're

    22                  saying.

    23    SINGER:       They've       been workin'      the system   and that's      what

    24                  they're       bein'    told.

                                               1




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   1    WILSON:     All right.

   2    SINGER:     So-

   3    WILSON:     All right, well this is, this is good general
                                I appreciate...
   4                guidance      [UIl. So in terms of pushing             harder    on

   5                different      sports unless       they can really       get

   6                some national         times in, uh, crew you're          sayin'

   7                it doesn't      really matter       for these top schools.

   8                What does it--does            that matter    for like the BCs

   9                and the ...

   10   SINGER:     Yeah it can matter            for them.

   11   WILSON:     So sports will matter            for their    second    tier

   12               choices?

   13   SINGER:     As long as they're            considered    heavy weight       not

   14               lightweight.

   15   WILSON:     What do you mean by heavyweight               versus

   16               lightweight?

   17   SINGER:     It's all based            on your weight.    They-they    give

   18               spots to heavyweights            not to lightweights.          That

   19               means    you gotta be I think heavyweight               girls

   20               are like ah over 150.
                            Mainly --
   21   WILSON:     Yeah maybe      I think they're       both about that.

   22               They're     both like almost        6 ft tall now.

   23   SINGER:     Which    is great.

   24   WILSON:     One's-one's         really heavy-heavy       weight    and the

                                          2




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    1                 other        is ah muscular        and I think        they're   both

    2                 probably           in that should be over            150.
                                                                          what
    3    SINGER:      Yeah that's           helpful.     So that's where          they gotta
                            in                 they got to
    4                 be and then they're              gotta     crush     it and they

    5                 gotta        go to nationals           and they gotta       really

    6                 engage        in the sport.

    7    WILSON:      Yeah.

    8    SINGER:      If you wanna do it on your own. And you only

    9                 got this summer              to do it, this fall, this

    10                spring.

    11   WILSON:      Yeah they gotta              really     go crazy     I guess then.

    12   SINGER:      Yep.

    13   WILSON:      Yeah. And then in terms                  of the, uh, difference

    14                of for each of the schools                  is that gonna have

    15                an impact           on them at all? In terms of where

    16                they get in on their own or ...

    17   SINGER:      Sure,        if they crush        it.

    18   WILSON:      Otherwise           it's a second        tier ...
                                          second
    19   SINGER:      Well        even    [UI]--

    20   WILSON:       [OV lUI]          Their safety schools.
                                                       are
    21   SINGER:      Well        even second's        [IA] not easy to get into

    22                but yes.
                                                                                    This was great. So, uh
    23   WILSON:      [OV/UI] even in their              second    tier. Okay. Are you
                                      Is it next --
    24               around ?you said next is it next Friday                       you're    in

                                               3




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   1               town?    In Boston?

   2    SINGER:    Yeah I'm in, in town but I'm in town short

   3               period    of time. Urn, I'm in and out. Urn, I have

   4               a--I think     1--

   5    WILSON:    lUI] set up like 11 o'clock            here or something

   6               like that?

   7    SINGER:    Yeah--

   8    WILSON:    lUI] talk and meet?

   9    SINGER:    Yeah we can meet.         Uh, urn, so I'm gonna be--the

   10              meetings,    uh, I'm meeting         at 10 o'clock    at the

   11              something    Marriott      Wharf?

   12   WILSON:    Marriott    Longwharf?      That's    downtown    Boston,

   13              okay.

   14   SINGER:    Yeah, yeah. That's where            I'm meeting.

   15   WILSON:    Maybe    Leslie    and I can meet with you there or

   16              something    like that. So you're         going    from there

   17              to the airport        or where     you going after?

   18   SINGER:    Yeah I'm going        from there to the airport,        yes.

   19   WILSON:    All right so maybe         Leslie    and I try to meet you

   20              there at the Marriott         Longwharf.      I'll be in town

   21              on Friday's.

   22   SINGER:    [OV] So--

   23   WILSON:    By this--I'm       usually-I'm      usually   in Houston    and

   24              Europe    these days.

                                         4




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    1    SINGER:     How's    your business?

    2    WILSON:     Uh it's going really          well doing    some really     good

    3                stuff,    uh, with McKinsey.       And uh got a big

    4                client    that's    got me pretty    much     full time for

    5                the next two years,          big multi-national     you know

    6                oil services       company    so I spend a lot of time in

    7                the mid-east,       Europe    and uh Houston,     Calgary      and

    8                stuff.

    9    SINGER:     Well,    all you gotta do is tell          'em to give you a

    10               quick bonus     for helping      ya and that will take-

    11               that'll    be your donation       for the kids.

    12   WILSON:      [laughter]    Is there      an installment    plan?

    13   SINGER:     But you had-you       had to have done something          with

    14               all that money       that you uh sold your house          for

    15               to the Chinese.

    16   WILSON:     Yeah    I got a another       house here now.     [laughter]

    17   SINGER:     Right?    I mean the Chinese       took care of ya didn't

    18               they?

    19   WILSON:     Yeah they did, it was good.

    20   SINGER:     They're    takin'    care of everybody.

    21   WILSON:     Exactly.    Oh my. So about       that whole     thing   if we

    22               go down one of those paths,          I guess     it's first

    23               it's better     off to see what's       the timeline      on

    24               pulling    the trigger       on one of those paths

                                          5




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   1               because    we gotta      figure out what schools      they

   2               wanna    go to and all that stuff and where           their

   3               choices    are.

   4    SINGER:    Gotta    know by, uh, gotta         know by June 1st.

   5    WILSON:    Of which    year? Of their sen--of         their next year-

   6    SINGER:    [OV/UI]

   7    WILSON:    lUI] entering      junior    lUI] their senior      year.

   8    SINGER:    Yeah, the beginning         of their--at    the end of

   9               junior,    beginning      of senior year. Because       those

   10              spots will go away.

   11   WILSON:    All right so you need to make a decision              by June

   12              1st you're    saying?

   13   SINGER:    Yeah.

   14   WILSON:    All right.

   15   SINGER:    By then you'll      have all your data.

   16   WILSON:    Yeah I know schools         prepared    and all their test

   17              scores    all that stuff.         I mean their scores

   18              already    good enough      to get into any place       a side

   19              door I assume with the athletes            right?

   20   SINGER:    Uh, not really.         They're   okay I still gotta     fight

   21              for it 'cause we don't have--

   22   WILSON:    [OV] Yeah but I mean--

   23   SINGER:    [OV] They both--

   24   WILSON:    [OV] But I mean as freshman.


                                       6




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    1     SINGER:    Yeah.

    2     WILSON:    I think     as freshman      they have a 32.

    3     SINGER:    But they don't        care about--John         they don't    care

    4                if it happened        in freshman        year or eighth     grade-

    5     WILSON:    No no but I'm sure they're               gonna do a lot better

    6                now I mean      that was.

    7     SINGER:    Yeah.

    8     WILSON:    That was 2 years          ago I'm sure they'll          be now in

    9                the higher      range than that so I'm just saying.

    10    SINGER:    Then then they should be fine, yeah.

    11    WILSON:    Yeah.     Okay so then but then they need what do

    12               they need?      Subject     tests?       Subjects   like math    and

     13              shit? Or what subjects            do they need?

     14   SINGER:    Well     they're    gonna   take math       2 and um depending

     15              on what     classes    they're      in, they'll      take another

     16              one if they're        in other AP courses.           So that's

     17              why I need to get           'em on the phone.

     18   WILSON:     Okay. All right maybe            I don't next Friday       [DI]

     19               for them probably          too early.

     20   SINGER:     [OV] Yeah that's         fine.

     21   WILSON:     Let's    sign them up for the whole            thing    let's

     22               sign up for the whole            deal    for them, the full

     23               monty    training.

     24   SINGER:     Why don't you have the kids come at 11 uh 11

                                           7




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   1               o'clock     on next this coming       Friday at the Boston

   2               Longwharf.

   3    WILSON:    I'd have to pull them out of school             though,   I

   4               guess    I could.

   5    SINGER:    For an hour or so?

   6    WILSON:    Yeah but to get there and back is gonna be 3

   7               hours    round trip you know.

   8    SINGER:    Okay would you rather        them be--go      home and then

   9               I can skype with them?

   10   WILSON:    Uh which     day you talkin'       about?

   11   SINGER:    Next Friday.

   12   WILSON:    Oh next Friday at 11 o'clock?

   13   SINGER:    Yeah.

   14   WILSON:    Yeah it's gonna be a half an hour each way

   15              let's-    let me figure out something          we do maybe

   16              you'll    skype--we     can skype even if we're

   17              together    then and they can be on skype with you

   18              right?

   19   SINGER:    Correct.

  20    WILSON:    From campus yeah yeah. So maybe             we just skype.

  21               Can you do a three-way          skype? How does that

  22               work?

  23    SINGER:    Urn we'd have to do zoom let me talk to my people

  24               about that yeah.


                                       8




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     1    WILSON:    All right maybe         we do a three way zoom or

     2               something.     That'd     be a good idea.

     3    SINGER:    All right.

     4    WILSON:    See if we can set that up for Friday              assuming

     5               we get the software         on their phones      and shit.

     6    SINGER:    Got it.

    7     WILSON:    All right super.         Sounds    good. We'll   set that

    8                up, next,    ah, next Friday we'll be talking.

     9    SINGER:    You got it, take care.

     10   WILSON:    Thanks,    you too.

    11    SINGER:    Ok. Bye bye.

                               End of Audio      File




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